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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                                         PLAINTIFF

VS.                                   NO. 4:08MJ6029-BD

FERMIN MEDINA CARDENAS (01)
JOSE LUIS ESCOTA MOYA (02)
SANTIAGO LOPEZ (03)
ADALI NIETO MENDOZA (04)                                                      DEFENDANTS


                                           ORDER

        The Defendants in the above-styled case are not well-versed in the English

language and are unable to understand and comprehend the proceedings being conducted.

The Court therefore directs that an interpreter be appointed, pursuant to Rule 28 of the

Federal Rules of Criminal Procedure, to enable the Defendants to communicate with and

comprehend the presiding judicial officers and other parties at any and all proceedings

conducted in court.

        The Clerk is therefore directed to appoint a qualified interpreter to assist the

Defendants, counsel, and the Court at any and all court proceedings in this case.

        IT IS SO ORDERED this 23rd day of October, 2009.




                                            UNITED STATES MAGISTRATE JUDGE
